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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                             )
 ASTRAZENECA LP, ASTRAZENECA                 )
 AB, ASTRAZENECA UK LIMITED, and             )
 ASTRAZENECA PHARMACEUTICALS                 )
 LP,                                         )
                                             )
                   Plaintiffs,               )       Civil Action No. 15-1000-RGA
                                             )       CONSOLIDATED
                   v.                        )
                                             )      Civil Action No. 16-0338-RGA
 WATSON LABORATORIES, INC.,                  )
                                             )
                   Defendant.                )
                                             )

           PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF THEIR MOTION TO
        DISMISS/STRIKE DEFENDANT’S TENTH AFFIRMATIVE DEFENSE AND
                          SEVENTH COUNTERCLAIM

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 I.       INTRODUCTION

          Watson’s Opposition to Plaintiffs’ Motion to Dismiss/Strike (D.I. 298) rests on two false

 assumptions: 1) Plaintiffs’ March 22, 2017, First Amended Complaint introduced a “new” patent

 that dramatically changed the scope and posture of this nearly two-year pending litigation; and 2)

 the Orders of this Court permitted “any Answer” to that Amended Complaint, including thirty-

 five pages of new counterclaims and defenses that could have been raised at the outset. Because

 these assumptions are mistaken, Watson’s Opposition necessarily fails and Watson’s new

 defenses should be stricken or dismissed.

 II.      ARGUMENT

          A.       Watson’s Untimely Filing Is Inexcusable

          Reflecting the weakness of its legal justification in light of case law precedent, Watson

 offers self-serving assumptions about its alleged carte blanche right to add new defenses and

 unsupported attorney argument on the merits. However, Watson’s procedural and factual

 arguments are also both incorrect, and fail to justify their untimely new defenses. Moreover, in

 addition to being incorrect, Watson’s arguments on the merits cannot justify its procedurally

 improper counterclaims and defenses. Sirona Dental Sys., Inc. v. Dental Imaging Techs. Corp.,

 No. 10-288-GMS, 2012 WL 3929949, at *6 (D. Del. Sept. 10, 2012) (“[T]he court will grant the

 plaintiffs’ motion to strike…. The court will not address the merits of [the] defense at this

 time.”); Teva Pharms. USA, Inc. v. Forest Labs., Inc., No. 13-2002-GMS, 2016 WL 7325511, at

 *1 n.1 (D. Del. Jun. 16, 2016) (“Because the counterclaims are dismissed as untimely, the court

 need not address whether they are plausibly pleaded.”).

                   1.    Watson’s Alleged “Facts” Justifying Late Defenses Are
                         Incorrect

          Watson’s five alleged “pertinent facts” are incorrect and do not justify its late defenses,

                                                    1

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 which were never authorized.

          First, Watson asserts that Plaintiffs “sought Watson’s consent and the Court’s permission

 to amend their complaint… after the scheduled deadline for the amendment of pleadings.” This

 is wrong. Plaintiffs approached Defendants more than a week before the “scheduled deadline for

 the amendment of pleadings” and nearly three weeks after the USPTO had allowed the claims to

 extend that scheduled deadline by a month to accommodate the issuance of the reissue patent.

 (Ex. A.) The Court granted the parties’ stipulated extension of the deadline. (D.I. 147.)

          On January 11, 2017, Plaintiffs provided Defendants with drafts of their Amended

 Complaints (a cooperative effort that no rule required) and sought their consent to file without

 further burdening the Court with motion practice. (D.I. 279-1, pgs. 11550-65.) Defendants

 delayed (Exs. B-C), requiring Plaintiffs a meet and confer. The parties held that conference, and

 later extended the pleadings deadline via a joint stipulation on January 31, 2017, which permitted

 “any Answer” to the Amended Complaints pursuant to Fed. R. Civ. P. 12(a)(1). (D.I. 160.) A

 later stipulation with Watson alone permitted an extension of time for Watson’s only. (D.I. 225.)

 Watson would have the Court believe that these stipulations to extend time combine to grant it

 the right to file 35 pages of new defenses months after the deadline for amended pleadings—but

 Watson cannot extend a right it never possessed.

          Second, Watson claims that the parties had already “agreed in principle” to extend

 scheduling order deadlines in this case such that there could be no prejudice. (D.I. 298 at 4.)

 But, there are two gaping holes in this argument. First, the Court denied the parties’ request to

 extend the scheduling deadlines (D.I. 291) before Watson filed its Opposition. Second, part of

 the agreement “in principle” was that no new discovery could be served; only existing discovery

 could be completed (Ex. D at 1 (“As stated in your letter, we understand—and our motion will


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 indicate—that the extension on the close of fact discovery will allow the parties to complete fact

 discovery served within the deadlines currently set forth in the Scheduling Order, not to serve

 additional requests.”)). The potential limited extension of fact discovery, therefore, mitigates

 nothing.

          Third, Watson places enormous importance on the only non-public document on which

 its new defense relies. Watson wrongly asserts that this document was produced “after the

 deadline for substantial completion of document production” (D.I. 298 at 4), when it was

 actually produced on the January 23, 2017 date for substantial completion—a date extended two

 months at Defendants’ request. (Ex. E) Watson now insists that this single document provides

 “key facts” for its new defenses, while ignoring that those “key facts” (a single date) could have

 been readily ascertained through written discovery months beforehand.

          Fourth, Watson insists that Plaintiffs’ Amended Complaint asserted “a new patent, with

 new claims, accompanied by a new, 3,871-page file history.” These eleventh-hour assertions are

 simply incorrect. The ’276 patent is not a “new patent”—it is a reissue of the ’060 patent that

 contained all of the original claims of that patent. See 35 U.S.C. § 251(a) (“No new matter shall

 be introduced into the application for reissue.”). To the extent new claims were added, those

 claims were necessarily, as a matter of law, narrower than any claims already in the case since

 the reissue occurred more than two years after the original ’060 patent issued. See 35 U.S.C.

 § 251(d) (“No reissued patent shall be granted enlarging the scope of the claims of the original

 patent unless applied for within two years from the grant of the original patent.”). And Watson

 omits that 3,500 pages (more than 90%) of the “new, 3,871-page file history” were Information

 Disclosure Statements and associated documents irrelevant to Watson’s new defenses; the

 remainder were prosecution documents largely similar to those in the original ’060 file history,


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 which has been public for over a decade.

          Finally, Watson states, without support, that it has “fully complied with its obligations”

 regarding its invalidity and unenforceability contentions. However, Watson cannot dispute that

 its contentions lack any mention whatsoever of the new unenforceability positions within its

 Seventh Counterclaim and Tenth Defense. Watson attempts to explain this discrepancy in a

 footnote, stating that “[t]he parties are currently negotiating a deadline to supplement contentions

 and interrogatory responses and Watson intends to add its inequitable conduct defense at that

 time.” (D.I. 298 at 5 n.2.) No such negotiations regarding “contentions” are underway or have

 ever taken place.1 Watson has no justification for its failure to include its unenforceability

 theories in its contentions, and instead launching an untimely surprise attack with its untimely

 new defenses. Even if Watson were somehow permitted at this late stage to supplement, which

 Plaintiffs do not concede, the parties’ “agreement in principle” on schedule extensions would

 prohibit—and prejudice—Plaintiffs from taking any discovery on these novel and late theories.

                   2.    Watson’s Procedural Arguments Provide No Excuse or
                         Recourse

          Watson attempts to dismiss the relevant case law on pleading issues as “purely academic”

 and mere “statutory parsing.” Relatedly, Watson assumes that this Court expressly granted it the

 right to file voluminous new counterclaims as a matter of right and out of time. To this end,

 Watson relies on the single sentence in the parties’ January 31, 2017, joint stipulation that “any

 Answer” would be permitted after the initial amended pleadings deadline. (D.I. 160 at ¶ 3.)

 However, no such grant ever took place.

                         a.      Watson Omits A Key Provision Of The Order

 1
   The parties have discussed a deadline to supplemental responses to “contention
 interrogatories,” not “contentions” and “interrogatory responses.” (Ex. D at 2 (regarding
 “contention interrogatories” in a letter to all Defendants); Ex. F (same).)
                                                   4

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          Watson repeatedly omits the entirety of the critical provision: “Defendants shall be

 permitted to file any Answer to the Amended Complaints pursuant to the timelines and

 provisions provided in Fed. R. Civ. P. 12(a)(1).” Id. “Answers,” with a capital “A,” are indeed

 governed by the “provisions provided in Fed. R. Civ. P. 12(a)(1).” Defenses, which are

 governed by Fed. R. Civ. P. 8(b)(1) and Fed. R. Civ. P. 12(b), are not governed by those

 provisions. Nor are counterclaims, which are governed by Fed. R. Civ. P. 13. The only thing

 that Rule 12(a)(1) governs is an “answer” to a complaint. Accordingly, Plaintiffs did not agree,

 and the Court did not order, any extension of time expressly permitting Watson to turn that

 “Answer” into an opportunity to insert new defenses and counterclaims under Rules 8(b), 12(b),

 13, or otherwise that are not commensurate with the scope of the amendment.

                         b.     Answers and Counterclaims Are Different Things

          The cases cited by Watson undercut its argument. Watson’s semantic position rests on

 “Answer” (with a capital “A”) being indisputably inclusive of defenses and counterclaims. But

 in the case Watson cites, the New York district court’s decision in Unigene Labs., Inc. v. Apotex,

 Inc., that court repeatedly differentiated between a defendant’s “answer and counterclaims.”

 E.g., No. 06-CV-5571, 2010 WL 2730471, at *1 n.1 (S.D.N.Y. July 7, 2010). The district court

 dismissed those counterclaims, and the Federal Circuit unanimously affirmed (irrespective of

 Watson’s plea that it did so “with virtually no substantive analysis”). Unigene Labs., Inc. v.

 Apotex, Inc., 655 F.3d 1352, 1355 (Fed. Cir. 2011).

                         c.     Delaware Case Law Supports Plaintiffs, Not Watson

          Watson then relies on its alleged carte blanche to file new defenses months late, without

 seeking leave from the Court, to sidestep the other Delaware cases on point cited by Plaintiffs.

 According to Watson, it should escape the holding of Teva because its new defenses were

 “expressly permitted,” were filed “months” before trial, and “will likely involve minimal (if any)
                                                5

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 expert testimony.” (D.I. 298 at 7-8.) This attorney argument falls apart in light of Watson’s

 misinterpretation of the January 31, 2017 stipulation. The same conclusion follows for Sirona,

 which Watson tries to distinguish due to its “prompt [ ] filing” of its new defenses and the

 changed “scope of the case” predicated by the substitution of the ’276 patent for the ’060 patent

 in Plaintiffs’ Amended Complaint. Watson does not offer—nor can it—any explanation for how

 belated filing of new defenses resting almost completely on documents publicly available for

 more than a decade is “prompt.” And as discussed above, Watson’s contention that the reissue

 patent “changed the scope of the case” is simply incorrect.

          Watson’s other cited cases are similarly inapposite. Watson cites this Court’s 2015

 decision in Unimed as evidence that new defenses may be raised even when a motion for leave to

 amend a previous answer had already been denied. But the Unimed decision involved

 counterclaims responsive to “newly asserted patents.” Unimed Pharms. LLC v. Perrigo Co., No.

 13-236-RGA, 2015 WL 106851, at *1 (D. Del. Jan. 6, 2015). These were entirely new, distinct

 patents, not a substituted reissue patent with the same disclosure and original or narrower claims,

 as is the case here. (Ex. G, Amended Complaint (D.I. 164) at 2, in Unimed (asserting eight new

 patents, none of which were reissue patents).) Watson further tries to point to Delaware’s

 purported “settled law” in Standard Chlorine, Joseph Bancroft & Sons, and Millenium

 Chemicals allegedly entitling it to file any response it sees fit after an Amended Complaint. But

 none of these cases involve patent-related counterclaims. Nor do they explain away the Teva and

 Sirona decisions of Delaware courts, which prohibited counterclaims and defenses outside of the

 Federal Rules and court scheduling orders. And Watson’s citation to this Court’s decision in

 Intercept Pharmaceuticals does not stand for the premise that “where no prejudice has been (or

 can be) shown, this Court has permitted amended pleadings,” as Watson asserts. (D.I. 298 at


                                                  6

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 11.) First, Watson’s 35 pages of new defenses are not “amended pleadings;” they are new causes

 of action. Second, unlike the plaintiff in Intercept, Plaintiffs here have alleged prejudice. And

 this Court’s decision in Intercept was predicated on a Fed. R. Civ. P. 15(a) analysis, which is not

 the present procedural posture before the Court.2 Sirona and Teva make clear that new defenses

 like Watson’s fall outside of the purview of Fed. R. Civ. P. 15(a)(3). Sirona, 2012 WL 3929949,

 at *2, *2 n.3; Teva, 2016 WL 7325511, at *1 n.1.

                        d.      Watson Uses Faulty Facts to Minimize the Prejudice to
                                Plaintiffs

          Watson closes its procedural arguments by dismissing any added burden or prejudice to

 Plaintiffs and to the Court. Again, these arguments are supported solely by Watson’s selective

 interpretation of the facts in this case. Watson again relies on its faulty assumptions that it was

 somehow entitled to file its new defenses the last week of April with the end of fact discovery

 the first week of June, because this Court “granted Watson leave to file ‘any’ answer” and that

 the parties “agreed in principle” to extend the schedule. (D.I. 298 at 10.) The Court’s

 authorization of the parties’ January 31, 2017, agreement cannot be reasonably interpreted as

 granting “leave” under any Federal Rule other than Fed. R. Civ. P. 12 to Watson—certainly not

 the leave and good cause under Fed. R. Civ. P. 15 and 16 that Teva and Sirona dictate are

 necessary for Watson’s new defenses under this procedural posture. And as has already been

 noted, the parties’ “agreement in principle” on scheduling was rejected by this Court before

 Watson filed its counterclaims. (D.I. 291.) That agreement also permitted no new discovery. In

 essence, Watson elicited an agreement from Plaintiffs that no new discovery could be filed (Ex.

 2
  Intercept Pharms, Inc. v. Fiorucci, No. 14-1313, 2017 WL 253966 (D. Del. Jan. 20, 2017).
 Should the Court seek to undertake evaluation of the Foman v. Davis factor test (371 U.S. 178,
 182 (1962)) under a Fed. R. Civ. P. 15 analysis, Plaintiffs respectfully request that they be heard
 on that issue. Several of the Foman factors, including undue delay, dilatory motive, futility, and
 prejudice, are satisfied in this case in favor of AstraZeneca.
                                                   7

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 D at 1), then sprung new defenses on Plaintiffs knowing they would be immune from written,

 such as interrogatories and requests for admission, or testimonial discovery on those issues.

          Watson also asserts that their new defenses require no new discovery, but cannot speak

 for AstraZeneca. AstraZeneca would have likely, if permitted, propagated written discovery

 requests seeking the factual and legal bases for Watson’s allegations, and sought corporate

 witness deposition testimony on those allegations. Watson further alleges there would be no

 expert discovery on this issue, but this is incorrect and Watson simply has no basis to dictate

 limits on AstraZeneca’s case.

          Watson’s assertion that “Plaintiffs were previously on notice” of Watson’s inequitable

 conduct allegations because of a notice of an intended subpoena to AstraZeneca’s prosecution

 attorney in March 2017, is baseless. The only inequitable conduct allegation even hinted in the

 case at that time was related to alleged “fraud” on the USPTO relating to a chemical

 nomenclature claim construction dispute, which Defendants conceded was no longer at issue on

 February 10, 2017, before the Markman hearing. (Ex. H.) Indeed, if Watson did have its new

 defenses in mind when it sought the prosecuting attorney’s deposition four weeks before its new

 Answer, there was clearly undue delay and intentionally dilatory motive.

          B.       Watson’s New Defenses Are Legally Insufficient Under FRCP 9(b)

          As discussed previously, the Court need not even review the merits of Watson’s new

 defenses to dismiss them. Sirona, 2012 WL 3929949, at *6; Teva, 2016 WL 7325511, at *1 n.1.

 In any event, Watson’s Opposition improperly relies on attorney argument in an attempt to

 supplement its legally insufficient pleadings under Fed. R. Civ. P. 9(b), but instead effectively

 admits to its own pleading failure.

          Like its procedural arguments, Watson’s arguments on sufficiency and particularity are

 based on assumptions and inapposite case law. Again, as in its pleading, Watson does little more
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 than present a historical chronology of events and then concludes that the prosecuting attorney

 “knew of invalidating information” and “acted with specific intent to deceive the PTO.” (D.I.

 298 at 13.) All of this allegedly “invalidating information” was before the PTO during

 prosecution of the ’276 reissue patent, and yet that patent issued under a different (and expert)

 examiner than examined the ’060 and ’124 patents. At best, Watson can only speculate that

 some sort of rejection might have been issued by an examiner, which never occurred.

          Watson’s arguments on Exergen’s “what” factor are unavailing. Watson cites Teva

 Parental and SunPower in support of its argument that a blanket, non-specific attack on “all

 claims” meets Exergen’s standard of “which claims, and which limitations in those claims.”

 Exergen Corp. v. Wal-Mart Stores, 575 F.3d 1312, 1329 (Fed. Cir. 2009). But Teva Parental is

 inapposite because “all claims” had been previously rejected based on prior art similar to that

 omitted—which Watson concedes is not the posture here. Medicines Co. v. Teva Parenteral

 Medicines, Inc., No. 09-750, 2011 WL 13135647, at *8-9. And strangely, Watson cites

 SunPower Corp. v. PaneClaw, Inc., No. 12-1633, 2016 WL 5107029 (D. Del. Sep. 19, 2016) in

 support of its arguments, then states “[t]hat case is inapposite.” (D.I. 298 at 15.) As for

 Exergen’s “when” factor, Watson’s allegations simply lack the specificity required by the case

 law. That law, including Watson’s Cornell case, requires “specific dates.” Cornell Univ. v.

 Illumina, Inc., No. 10-433, 2016 WL 3046258, at *7 (D. Del. May 27, 2016). Those dates are

 not “uniquely within Plaintiffs’ control.” Watson simply neglected to propound discovery on

 those topics before the end of fact discovery. As far as pleading specific intent “on information

 and belief,” this is permitted only when other supporting facts are in the pleadings. Exergen, 575

 F.3d at 1331 n.7 (citing Wexner v. First Manhattan Co., 902 F.2d 169, 172 (2d Cir. 1990)

 (“Where pleading is permitted on information and belief, a complaint must adduce specific facts


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 supporting a strong inference of fraud or it will not satisfy even a relaxed pleading standard.”));

 Kowal v. MCI Commc’n Corp., 16 F.3d 1271, 1279 n. 3 (D.C. Cir. 1994) (“[P]leadings on

 information and belief require an allegation that the necessary information lies within the

 defendant's control, and ... such allegations must also be accompanied by a statement of the facts

 upon which the allegations are based.”) An assertion that facts are in control of the other party

 must be made in the pleadings, not buried in an opposition to a motion to dismiss.

          In the alternative, Watson seeks leave to amend. (D.I. 298 at 20.) At this late stage,

 Plaintiffs oppose granting Watson leave to amend, particularly given Watson’s unsupported and

 open-ended proviso that they may someday “obtain[ ] additional facts that support its claims.”

 (Id.) Plaintiffs respectfully submit that cosmetic updates to Watson’s counterclaims, and the

 further delay required by briefing on leave to amend, will not resolve the other issues raised in

 AstraZeneca’s Motion to Dismiss. Senju did not grant “leave to amend” as Watson alleges; in

 fact, it denied the underlying motions to dismiss in favor of staying the case in favor of related

 proceedings. Senju Pharm. Co. Ltd. v. Apotex, Inc., 921 F. Supp. 2d 297, 316 (D. Del. 2013).

 And in St. Jude, the motion to dismiss came before the Markman hearing at a much earlier stage

 of the case. (Ex. I at 20-21.) Plaintiffs respectfully request that the Court grant Plaintiffs’

 Motion to Dismiss, and do so without granting Watson leave to amend.

 III.     CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that this Court grant

 Plaintiffs motion and strike or dismiss, as appropriate, Watson’s Tenth Affirmative Defense and

 Seventh Counterclaim relating to inequitable conduct.




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 DATED: June 23, 2017                        Respectfully submitted,

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